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  The relief described hereinbelow is SO ORDERED.

  Signed February 28, 2022.


                                                      __________________________________
                                                                  Ronald B. King
                                                          United States Bankruptcy Judge




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

         IN RE:                                       §     CHAPTER 11
                                                      §
         KRISJENN RANCH, LLC                          §     CASE NO. 20-50805-rbk
                                                      §
                                                      §
               DEBTOR                                 §    (Jointly Administered)

   ORDER CONFIRMING KRISJENN RANCH, LLC, KRISJENN RANCH LLC, SERIES

           FOURTH AMENDED SUBSTANTIVELY CONSOLIDATED PLAN OF
                            REORGANIZATION


         On February 3, 2022, KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series Uvalde Ranch,

                                                                   filed their Fourth Amended

  Substantially Consolidated Plan of Reorganization           , and on February 3, 2022, Debtors

  filed their Fourth Amended Disclosure Statement (

                            On February 15, 2022, in Docket Number 222, Debtors filed an

  amendment to the Fourth Amended Substantially Consolidated Plan of Reorganization; however,


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  the amendment was deemed untimely and the terms thereof are not incorporated into the confirmed

  Plan.

          (1)    On February 17, 2022, came on to be heard confirmation of the Plan and final

  approval of the Disclosure Statement. The Court, having found that the Plan and Disclosure

  Statement, had been properly transmitted to creditors, equity security holders and parties in interest

  whose acceptance is required by law, and notice of this hearing, having been given to all interested

  parties, and the Court, having heard and considered evidence and testimony at such hearing, finds

  that the Plan proposed herein, have been accepted in writing by the creditors and equity security

  holders whose acceptance is required by law with the changes announced in open Court on

  February 17, 2022 as follows:

                 a) The following shall be added to the treatment of the Nacogdoches and Central
          Independent School District claims:

                  Notwithstanding anything in the Plan, this Order, or any related documents, the
          secured claims for Nacogdoches County and Central Independent School District, as filed
                                                                                      later of (1) the
          effective date or (2) the date the claim becomes an allowed claim. The Tax Claims will be
          paid in full in the amount of the amended claims, with interest accruing as of the petition
          date at 12% per annum. All post-petition taxes beginning with the tax year 2021 and
          subsequent years shall be paid in the ordinary course of business. All other provision
          contained in Paragraph 3.02.2 of the Plan, not modified herein, apply to the Tax Claims.

          (2)    The Plan, and the proponents of the Plan, have complied with the provisions of 11

  U.S.C. § 1129(a); the Plan has been proposed in good faith and not by any means forbidden;

          (3)    With respect to each impaired class of claims or interests-

                 a. Each holder of a claim or interest of such class

                          i. has accepted the plan; or

                         ii. will receive or retain under the plan an account of such claim or interest

                             property of a value, as of the effective date of the plan, that is not less

                             than the amount that such holder would so receive or retain if the
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                              Debtors-in-Possession were liquidated under chapter 7 of Title 11 on

                              such date; All payments made or promised by the Debtors, or by any

                              other person or services or for costs and expenses, or in connection with

                              the Plan and incident to the case, have been fully disclosed to the Court

                              and are reasonable or, if to be fixed after confirmation of the Plan, will

                              be subject to the approval of the Court;


           (4) With respect to each class of claims or interests

                   a. such class has accepted the plan; or

                   b. such class is not impaired under the plan;

          (5)      If a class of claims is impaired under the plan, at least one class of claims that is

  impaired under the plan has accepted the plan, determined without including any acceptance of the

  plan by any insider;

          (6)      The identity, qualifications and affiliations of the persons who are to be directors

  or officers, or voting trustees, if any, of the Debtors, after confirmation of the Plan, have been fully

  disclosed, and the appointment of such persons to such offices, or their continuance therein, is

  equitable and consistent with the interests of the creditors and equity security holders and with

  public policy;

          (7)      The identity of any insiders that will be employed or retained by the Debtors, and

  their compensation, have been fully disclosed;

          (8)      Except to the extent that the holder of a particular claim has agreed to a different

  treatment of such claim, the Plan provides that:

                   a. with respect to a claim of a kind specified in section 507(a)(1) or 507(a)(2) of
                      the Bankruptcy Code, on the effective date of the plan, the holder of such claim


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                      will receive on account of such claim cash equal to the allowed amount of such
                      claim;

                  b. with respect to a claim of a kind specified in section 507(a)(8) of the Bankruptcy
                     Code, the holder of such claim will receive on account of such claim regular
                     installment payments in cash--(i) of a total value, as of the effective date of the
                     plan, equal to the allowed amount of such claim; (ii) over a period ending not
                     later than 5 years after the date of the order for relief under section 301, 302, or
                     303; and (iii) in a manner not less favorable than the most favored nonpriority
                     unsecured claim provided for by the plan (other than cash payments made to a
                     class of creditors under section 1122(b));

                  c. with respect to a secured claim which would otherwise meet the description of
                     an unsecured claim of a governmental unit under section 507(a)(8) but for the
                     secured status of that claim, the Plan provides that the holder of that claim will
                     receive on account of that claim, cash payments, in the same manner and over
                     the same period, as prescribed for section 507(a)(8) claimants.

          (9)     With respect to a class of secured claims that has not accepted the plan, the plan

  provides-- (i) that the holders of such claims retain the liens securing such claims, whether the

  property subject to such liens is retained by the Debtors or transferred to another entity, to the

  extent of the allowed amount of such claims; and (ii) that each holder of a claim of such class

  receive on account of such claim deferred cash payments totaling at least the allowed amount of

  such claim, of a value, as of the effective date of the plan, of at least the value of such holder's

  interest in the estate's interest in such property;

          (10)    Confirmation of the Plan is not likely to be followed by the liquidation, or the need

  for further financial reorganization, of the Debtors or any successor to the Debtors under the Plan.

          It is therefore ORDERED, ADJUDGED and DECREED:

          (11)    The Plan proposed herein, with the changes announced in open Court on February

  17, 2022, has been accepted in writing by the creditors whose acceptance is required by law.

           (12) The following is added to the Plan:

                  a. Notwithstanding anything in the Plan, this Order, or any related documents, the
                     secured claims for Nacogdoches County and Central Independent School

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                      paid on the later of (1) the effective date or (2) the date the claim becomes an
                      allowed claim. The Tax Claims will be paid in full in the amount of the
                      amended claims, with interest accruing as of the petition date at 12% per annum.
                      All post-petition taxes beginning with the tax year 2021 and subsequent years
                      shall be paid in the ordinary course of business. All other provision contained
                      in Paragraph 3.02.2 of the Plan, not modified herein, apply to the Tax Claims.
                      Texas Governmental Units.

          (13) Governmental Units

                a) No Effect on Texas Governmental Regulatory Authority. Notwithstanding
                   anything in the Plan or this Order to the contrary, nothing in the Plan or this
                   Order or related documents discharges, releases, precludes, or enjoins: (i) any
                   liability to any Texas governmental unit as defined in 11 U.S.C. § 101(27)


                      Confirmation Date; (iii) any liability to a Governmental Unit under police and
                      regulatory statutes or regulations that any entity would be subject to as the
                      owner or operator of property after the Confirmation Date; or (iv) any liability
                      to a Governmental Unit on the part of any Person other than the Debtors or
                      Reorganized Debtors. Nor shall anything in the Plan or this Order enjoin or
                      otherwise bar a Governmental Unit from asserting or enforcing, outside this
                      Court, any liability described in the preceding sentence.

                b) Further, nothing in the Plan or this Order or related documents authorizes the
                   transfer or assignment of any governmental (a) license, (b) permit, (c)
                   registration, (d) authorization or (e) approval, or the discontinuation of any
                   obligation thereunder, without compliance with all applicable legal
                   requirements and approvals under police or regulatory law. Nothing in the Plan
                   or this Order shall relieve any entity from any obligation to address or comply
                   with information requests or inquiries from any Governmental Unit. Nothing
                   in the Plan or this Order shall affect any setoff or recoupment rights of any
                   Governmental Unit. Nothing in the Plan or this Order divests any tribunal of
                   any jurisdiction it may have under police or regulatory law to interpret the Plan
                   or this Order or to adjudicate any defense asserted under the Plan or this Order.


         (14)   The Disclosure Statement is Approved.

         (15)   The Plan proposed herein, with the changes announced in open Court on February

  17, 2022, is hereby Confirmed.

         (16)   The Debtors may conduct all actions necessary to wind up Series Uvalde Ranch

  and Pipeline Row.
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          (17)   Unfiled claim of Preciliano Jose Flores

  KrisJenn Ranch and Larry Wright in case Number 20-1459 in Guadalupe County. Jose Flores

  received notice of the bankruptcy but did not timely file a claim. Therefore, the claim is being

  disallowed. However, this order shall not prejudice Jose Flores from seeking either relief from the

  automatic stay or relief from the discharge injunction solely to pursue insurance proceeds pursuant

  to state or bankruptcy law to the extent the Court finds that insurance proceeds are not assets of

  the estate.

          (18)   The Court shall retain jurisdiction until this Plan is fully consummated and/or a

  final decree is entered, whichever event occurs earlier, specially including, but not limited to, the

  jurisdiction to determine all objections that may be filed to claims of creditors herein; to fix and

  award all compensation to parties who may be entitled; to herein determine all questions

  concerning assets or property of the Debtors, including any questions relating to any sums of

  money, services or property due to the Debtors; and determine all matters of any nature or type

  necessary and appropriate to carry out the provisions of this Plan.

          (19)   In the event there are any disputes regarding sale, transfer, or encumbrance of the

  Pipeline ROW, any party in interest may reopen the bankruptcy case to have the bankruptcy court

  adjudicate the dispute. The Bankruptcy Court shall be the primary venue for any such dispute;

  however, by written agreement, or if the Bankruptcy Court is found to not have jurisdiction over

  the dispute, the parties may have the dispute adjudicated by another competent Court.

          (20)   In the event of a conflict between the terms of this Order and those of the Plan, the

  terms of this Order shall control. The Debtors shall continue to file post confirmation reports on

  the forms required by the United States Trustee and shall continue paying the United States Trustee

  quarterly fees required by 28 USC Section 1930(a)(6) until the case is closed, dismissed or


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  converted. The Reorganized Debtor shall file a final post-confirmation quarterly report within 14

  days of the case being closed. Debtor shall pay all outstanding quarterly fees in the amount of

  $1,836.71 and estimated first quarter of 2022 fees in the amount of $3,508.24 on the Effective

  Date.



          (21)   A copy of the confirmed Plan is attached as Exhibit A.


                                                ###



  Approved as to Form:


  /s/ Ronald J. Smeberg
  RONALD J. SMEBERG

  THE SMEBERG LAW FIRM, PLLC
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  ATTORNEY FOR DEBTORS




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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

           IN RE:                                         §       CHAPTER 11
                                                          §
           KRISJENN RANCH, LLC                            §       CASE NO. 20-50805-rbk
                                                          §
                                                          §
                     DEBTOR                               §          (Jointly Administered)

     KRISJENN RANCH, LLC, KRISJENN RANCH LLC, SERIES UVALDE RANCH, AND
        KRISJENN RANCH,                            FOURTH AMENDED
           SUBSTANTIVELY CONSOLIDATED PLAN OF REORGANIZATION

                                     ARTICLE I
                       SUMMARY AND SUBSTANTIVE CONSOLIDATION

       1.01 Summary

       This Fourth Amended
                                to substantively consolidate all three Debtors into KrisJenn Ranch,
    LLC to pay creditors of KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series Uvalde Ranch, and
    KrisJenn Ranch LLC, Series Pipeline Row         Debtors          the sale of real property and/or
    pipeline rights.

        This Plan generally differs from the Third Amended Plan in that it further clarifies the affect
    of the appeal pending in the adversary regarding rights in the Express Pipeline, which is defined
    in the Disclosure Statement. See the redlined plan attached to the Fourth Amended Disclosure
    Statement for additional Changes.

        This Plan provides for paying real estate taxes, administrative claims, one secured class for
    the Mcleod Oil debt, and 100% of the unsecured debt.

        All creditors and equity security holders should refer to Articles IV through VI of this Plan for
    information regarding the precise treatment of their claim. A disclosure statement that provides
    more detailed information regarding this Plan and the rights of creditors and equity security holders
    has been circulated with this Plan. Generally, the plan provides as follows.

       Debtors shall pay their secured creditor, Mcleod Oil, from the sales proceeds of the Uvalde
    Ranch.

        Except as otherwise stated, Debtors shall pay select governmental claims in equal monthly
    installments at the statutory rate of interest beginning the first day to occur 30 days after the
    effective date within 60 months of the bankruptcy filing date. The Debtors may prepay these

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    claims                                            Debtors shall pay remaining governmental claims
    upon confirmation.

        DMA and Frank Daniel Moore                                                           in full on the
    effective date.

       Debtors shall pay allowed general unsecured claims in full on the effective date.

        The remaining DMA, Frank Daniel Moore, and Longbranch Energy claims are all generally
    disallowed pursuant to the adversary case order in 20-05027 subject to the pending appeal as
    provided for below.

       Equity holders shall all retain their interests as they existed prior to the bankruptcy case filing.

           Your rights may be affected. You should read these papers carefully and discuss them
    with your attorney, if you have one. If you do not have an attorney, you may wish to consult
    one.

       1.02 Substantive Consolidation

        The Plan substantially consolidates the assets and liabilities of all three Debtors into KrisJenn
    Ranch, LLC. The Debtors and their respective Estates shall be substantively consolidated for all
    purposes under the Plan into KrisJenn Ranch, LLC. As a result of the substantive consolidation,
    (a) all Intercompany Claims by and among the Debtors (including such Claims arising from
    rejection of an executory contract), will be eliminated; (b) any obligation of any of the Debtors
    and all guarantees thereof executed by any of the Debtors will be deemed to be an obligation of
    KrisJenn Ranch, LLC; (c) any Claim filed or asserted against any of the Debtors will be deemed a
    Claim against KrisJenn Ranch, LLC; (d) any Interest in any of the Debtors will be deemed an
    Interest in KrisJenn Ranch, LLC; and (e) for purposes of determining the availability of the right
    of setoff under section 553 of the Bankruptcy Code, the Debtors will be treated as one entity,
    KrisJenn Ranch, LLC, so that (subject to the other provisions of section 553 of the Bankruptcy
    Code) debts due to any of the Debtors may be offset against the debts owed by any of the Debtors.
    The substantive consolidation contemplated by this section shall not affect or impair any valid,
    perfected and unavoidable Lien to which the assets of any Debtor is subject in the absence of
    substantive consolidation under the Plan, provided, however, it shall not cause any such Lien to
    secure any Claim which such Lien would not otherwise secure absent such substantive
    consolidation.

        On the Effective Date, except as otherwise provided in the Plan, all Claims based on guarantees
    of collection, payment, or performance made by any Debtor concerning the obligations of another
    Debtor shall be discharged, released, and without any further force or effect. Additionally, holders
    of Allowed Claims or Allowed Interests who assert identical Claims against or Interests in multiple
    Debtors shall be entitled to a single satisfaction of such Claims or Interests from KrisJenn Ranch,
    LLC.

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       Further, on the Effective Date, the Reorganized Debtor, KrisJenn Ranch, LLC is authorized to
   execute all documents necessary to title all assets previously held by Series Uvalde Ranch or Series
   Pipeline Row into KrisJenn Ranch, LLC. KrisJenn Ranch, LLC is further authorized to wind up
   the affairs and file all necessary documents with the Texas Secretary of State and other
   governmental organizations to dissolve both series.

                                        ARTICLE II
                          CLASSIFICATION OF CLAIMS AND INTERESTS

     Class                      Description                      Impaired?     Voting?
                                Secured Claim of
     2.01. Class 1.
                                McLeod Oil, LLC                  Y             Yes
                                Claims Of DMA and
     2.02. Class 2.
                                Frank Daniel Moore               N             No
                                DMA and Longbranch
     2.03. Class 3.
                                Energy, LP Joint Claims          N             No
                                Longbranch Energy, LP
     2.04. Class 4.
                                Claims                           N             No
                                General Unsecured
     2.07. Class 5.
                                Claims                           Y             Yes
                                General Unsecured
     2.09. Class 6.             Administrative
                                Convenience Claims               N             No
                                General Unsecured
     2.10. Class 7.             Larry Wright Insider
                                Claim                            N             No

     2.11. Class 8.             Equity Holders
                                                                 N             No

                                  ARTICLE III
                  TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                           AND PRIORITY TAX CLAIMS

          3.01.       Professional Fees and U.S. Trustee Fees.

       Although not classified, the professionals who have provided services to the Debtors during
   the pendency of this Chapter 11 case are entitled to administrative claim treatment. These claims
   do not include other administration priority claims allowed under 11 U.S.C. § 503. Those will be
   paid in the ordinary course as priority claims under 11 U.S.C. § 507(a) but to the extent they may




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   not be paid in the ordinary course of business they are listed here. The estimated amount of such
   claims is as follows:

             Smeberg Law Firm, PLLC (Attorneys)                         $32,000

             CJ Muller & Associates                                     $190,000

             US Trustee                                                 $3,000

             Douglas Deffenbaugh CPA                                    $5,000

             Total Estimated Admin Claims                               $230,000

             [This estimate is subject to revision; no claim for administrative claims can be paid
             absent Court approval.]

        The amount of the professional fees disclosed above is an approximate amount. It is unknown
   at this time exactly how much money will be incurred in professional fees in this Chapter 11 case.
   A final determination cannot be made until such time as the case is closed as to reasonable
   professional fees for the provision of whatever services become necessary in this Chapter 11 case.
   Any other allowed costs and expenses of administration of the Debtors                    bankruptcy
   cases will also be entitled to administrative treatment. These will be paid in full at confirmation,
   less any retainers already received, after approval by the Court of said fees. The anticipated
   administrative expenses of the Debtors are moderate for a case of this size.

      Reorganized Debtors shall pay all accrued U.S. Trustee fees on the Effective Date and continue
   paying all U.S. Trustee fees as required by 1129(a)(12) until an order is entered closing the case.

          3.02.   Government Claims.

              3.02.1. Unsecured Priority Claims of the Comptroller of Public Accounts and Internal
                      Revenue Service: The Texas Comptroller of Public Accounts and IRS were
                      provided notice of the bankruptcy filings but did not file claims. If the
                      Comptroller or IRS were to file allowed claims, those claims would be paid in
                      accordance with the Bankruptcy Code.

              3.02.2.      Secured Taxing Authority Claims

                        a. Uvalde County Tax Office. The Uvalde County Tax Office filed a claim
                        for $6,451.48 in case number 20-50805. However, the claim should have been
                        filed in case number 20-51083, KrisJenn Ranch, LLC Series Uvalde Ranch.
                        The claim was previously paid in conjunction with sale of the Ranch. To the
                        extent any amount remains, it will be paid on the Effective Date. Uvalde
                        County Tax Office shall retain all its liens until paid.

                        c. Nacogdoches County filed a claim for $354.60 in case number 20-51083.
                        The claim shall be paid in full at confirmation. Nacogdoches County shall


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                  retain all its liens until paid. This claim shall be paid in full on the Effective
                  Date.

                  d. Angelina County filed a claim for $2536.82 in case number 20-50805.
                  However, the claim should have been filed in case number 20-51084, KrisJenn
                  Ranch, LLC Series Pipeline Row. Angelina County shall retain all its liens until
                  paid. This claim shall be paid in full on the Effective Date.

                  e. Shelby County filed a claim for $357.88 in case number 20-50805.
                  However, the claim should have been filed in case number 20-51084, KrisJenn
                  Ranch, LLC Series Pipeline Row. The claim shall be paid in full on the
                  Effective Date. Shelby County shall retain all its liens until paid.

                  f. Except as otherwise stated, all Ad Valorem taxes will be paid in full in equal
                  monthly instalments at the statutory rate of interest within 60 months of the
                  petition filing date, with the first payment being made on the first day of the
                  first month following 30                                                    -petition
                  interest at the rate of twelve percent (12%) per annum shall accrue beginning
                  from the Petition Date until the confirmation date. Thereafter, plan interest at
                  the rate of twelve percent (12%) per annum shall accrue on the entire balance
                  until the tax debt is paid in full. Debtors shall make separate payments on each
                  account consistent with separate amortization schedules provided to the
                  Debtors. Each separate payment which will be applied pro rata to the various
                  tax accounts indicated above. In the event Debtors sell, convey or transfer any
                  property which is collateral of a property tax claim or post confirmation tax
                  debt, the Debtors shall remit such sales proceeds first to the applicable property
                  taxing entity to be applied to the respective tax debt incident to any such
                  property/tax account sold, conveyed or transferred. Debtors may pre-pay the
                  pre-petition tax debt to any of the ad valorem taxing entities at any time. The
                  Debtors shall have thirty (30) days from the Effective Date to object to the any
                  property tax claim; otherwise, such claim is deemed as an allowed secured
                  claim in the amount of its Proof of Claim consistent with the treatment of each
                  tax account under this Plan. The taxing entity shall retain its statutory lien
                  securing their pre-petition and post-petition tax debts until such time as the tax
                  debts are paid in full. Debtors shall pay all post-petition ad valorem tax
                  liabilities (tax year 2019 and subsequent tax years) owing to the taxing entity in
                  the ordinary course of business as such tax debts come due and prior to said ad
                  valorem taxes becoming delinquent without need of any ad valorem taxing
                  entity filing an administrative claim and request for payment. Should Debtors
                  fail to make any payments as required in its respective Plan, the taxing entity
                  shall provide written notice of that default by sending written notice by certified
                  mail to Debtors                                       , and providing the Debtors
                  with a period of fifteen (15) days to cure the default. In the event that the default
                  is not cured within fifteen (15) days, the taxing entity may, without further order
                  of this Court or notice to the Debtors, pursue all of their rights and remedies
                  available to them under the Texas Property Tax Code to collect the full amount
                  of all taxes, penalties and interest owed. Additionally, the failure to timely pay

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                         post-petition and/or post-confirmation taxes while the Debtors are still paying
                         any pre-petition debt, shall be considered an event of default. A Debtors shall
                         be entitled to no more than three (3) Notices of Default. In the event of a fourth
                         (4th) default, the taxing entity may pursue all rights and remedies available to
                         it under the Texas Property Tax Code in state district court without further order
                         of this court or further notice to the Debtors.


                                   ARTICLE IV
                 TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

             4.01 Claims and interests shall be treated as follows under this Plan:

             Class 1 Claims:

           Class 1 is the impaired secured claim of Mcleod Oil filed in the amount of $6,260,196.08
   filed in all three Debtors cases. Duplicate Claims 2,3,4 and 5 in 20-51084, Claim 6 in 20-50805,
   and Claims 2 in 20-5103. The majority of this claim was satisfied upon sale of the Ranch. Debtor
   has agreed to settle this claim for $385,0001. The Claim shall be paid on the Effective Date in
                                                                               .

             Mcleod shall maintain all of its liens until it is paid its allowed claim except as provided
   herein.

             Mcleod will vote on the plans as an impaired creditor.

             Class 2 Claims:

           Class 2 are the claims of DMA Properties, Inc. and Frank Daniel Moore                              . Claim
   5 in 20-50805, Claims 1 and 3 in 20-51083, and Claims 1 and 6 in 20-51084.

           DMA filed in all three cases and also filed as counterclaims in the adversary case 20-05027
   claims related to Bigfoot Energy. The Court awarded damages and attorney s fees with a remaining
   balance of $54,471.85. The DMA claim in class 2 shall be paid on the Effective Date. DMA and
   Frank Daniel Moore are unimpaired and will not vote on the plan.

             Class 3 Claims:


                        Claim 7 in 20-50805.

            DMA and Longbranch filed one joint claim related to the adversary action claiming an
   interest in the Express Pipeline (as defined in the Disclosure Statement) and other miscellaneous
   relief, these claims were all denied through the trial and are subject to an appeal. As a result, these


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     Larry Wright and Gwen Wright are also parties to the settlement transferring 165 acres of their personal mineral
   rights as consideration.

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                                                                                                -05027
   and will not receive any distribution under the Plan.


   Adversary Proceeding. Those appeals will continue after confirmation and will not be rendered
   moot by confirmation or substantial consummation of the plan. DMA, Longbranch, and the
   Reorganized Debtor will be bound by the terms of a final, non-appealable order. The ultimate
   determination of the appeal shall be binding on DMA, Longbranch, and the Reorganized
   Debtors, includ

   interest in DMA, Longbranch, and/or the Reorganized Debtors.



           If through the appeals process, DMA and Longbranch are ultimately determined to have
   an interest in the Express Pipeline, and in the event the Reorganized Debtor sold, transferred, or
   otherwise disposed of all or part of the Express Pipeline during the pendency of the appeal, the
   value of the DMA and Longbranch interest in the Express Pipeline, as determined by the Appellate
   Court or Bankruptcy Court as applicable, shall attached solely to the proceeds or interests obtained
   or retained by the Reorganized Debtor from the sale or operation of the Express Pipeline. The
   interest sold, transferred or otherwise disposed of to a third party shall be free and clear of any
   claims by DMA or Longbranch.

          To the extent Longbranch or DMA have filed or claimed liens, lis pendens, or other

   not limited to the Express Pipeline, those Encumbrances are void and Debtors may file a copy of
   the confirmed Plan and/or Confirmation order with any federal, state or local government
   evidencing the liens have been voided.

          In the event the Reorganized Debtor receives or initiates an offer that purports to transfer
   or dispose of any interest in the Express Pipeline, Debtor shall tender a copy of the offer to DMA
   and Longbranch no less than 30 days before closing the offer to allow DMA and/or Longbranch
   30 days to reopen the bankruptcy case to raise any concerns they have regarding the transfer with
   the Bankruptcy Court. Provided DMA and/or Longbranch timely file any concerns they have
   regarding the transfer with the Bankruptcy Court and request expedited consideration prior to the
   closing, Reorganized Debtor shall postpone the closing of the offer to a date after the first hearing
   on DMA and/or Longbranch


   substantive rights in the Express Pipeline as determined in the Adversary.

          Class 3 is unimpaired and does not vote on the plans.




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          Class 4 Claims:

                                                                                                 -51083
   and Claim 8 in 20-51084.

           Longbranch filed claims related to the adversary action claiming an interest in the Express
   Pipeline (as defined in the Disclosure Statement) and other miscellaneous relief, these claims were
   all denied through the trial and are subject to an appeal. As a result, these claims are being
                                                                   case 20-05027 and will not receive
   any distribution under the Plan.

           Longbranch is
   Proceeding. This appeal will continue after confirmation and will not be rendered moot by
   confirmation or substantial consummation of the plan. Longbranch, and the Reorganized Debtor
   will be bound by the terms of a final, non-appealable order. The ultimate determination of the
   appeal shall be binding on Longbranch, and the Reorganized Debtors, including their successors

   person or entity that is not a successor or assign to an ownership interest in DMA, Longbranch,
   and/or the Reorganized Debtors.

           If through the appeals process, Longbranch is ultimately determined to have an interest in
   the Express Pipeline, and in the event the Reorganized Debtor sold, transferred, or otherwise
   disposed of all or part of the Express Pipeline during the pendency of the appeal, the value of the
   Longbranch interest in the Express Pipeline, as determined by the Appellate Court or Bankruptcy
   Court as applicable, shall attached solely to the proceeds or interests obtained or retained by the
   Reorganized Debtor from the sale or operation of the Express Pipeline. The interest sold,
   transferred or otherwise disposed of to a third party shall be free and clear of any claims by
   Longbranch.

           To the extent Longbranch has filed or claimed liens, lis pendens, or other documents
   (
   to the Express Pipeline, those Encumbrances are void and Debtors may file a copy of the confirmed
   Plan and/or Confirmation order with any federal, state or local government evidencing the liens
   have been voided.

   In the event the Reorganized Debtor receives or initiates an offer that purports to transfer or
   dispose of any interest in the Express Pipeline, Debtor shall tender a copy of the offer to DMA
   and Longbranch no less than 30 days before closing the offer to allow DMA and/or Longbranch
   30 days to reopen the bankruptcy case to raise any concerns they have regarding the transfer
   with the Bankruptcy Court. Provided DMA and/or Longbranch timely file any concerns they
   have regarding the transfer with the Bankruptcy Court and request expedited consideration prior
   to the closing, Reorganized Debtor shall postpone the closing of the offer to a date after the first
                                                             less the Bankruptcy Court orders
   otherwise.


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   rights in the Express Pipeline as determined in the Adversary.

   Class 4 is unimpaired and does not vote on the plans.

          Class 5 Claims:

          Class 5 is the impaired general unsecured creditor claims. This Class contains the Claim
                                                                     ,945. The Class 5 claims shall
   be paid their allowed claim within 120 days of the effective date without interest. Cedillo shall
   vote on the plan.

          Class 6 Claims:

           Class 6 are the impaired, general unsecured administrative convenience claims scheduled
   at $1,000 or less. These claims were all scheduled in Case 20-50805, but none of the creditors
   filed claims in any of the Debtors         The claimants are as follows:

                              1. C & W Fuels - $1.00

                              2. Granstaff Gaedke & Edgmon PC - $1.00

                              3. Hopper's Soft Water Service - $100.00

                              4. Medina Electric - $1.00

                              5. Texas Farm Store - $1.00

                              6. Uvalco Supply - $1.00

           The Class 6 claims shall be paid in full on the Effective Date. They are unimpaired and
   shall not vote on the plan.

          Class 7 Claims:

           Class 7 claim is the general unsecured claim of insider Larry Wright. This claim was
   scheduled in Case 20-50805 in the amount of $648,209. Additionally, Larry Wright loaned
   $129,446 to the Company. Finally, Larry Wright contributed 165 acres of mineral rights valued
   at $1000.00 per acre to the settlement with Mcleod oil to all allow the Debtor to retain cash needed
   to pay administrative expenses.

           The Class 7 claim shall be subordinated to all other claims in the bankruptcy except equity
   claims and except in regard to the mineral acres contributed by Larry Wright to the settlement with
   McCleod. The $165,000 in mineral rights shall be reimbursed to Larry Wright on the Effective
   Date provided there are sufficient funds to pay all other claims due on the Effective Date, to pay
   any estimated administrative claims likely to come due until the case is closed, and to pay the Class

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   5 claims. The remainder of the Class 7 Claim shall be paid in 120 equal monthly installments
   beginning the 5th year anniversary of the Effective Date with interest at the judgment rate of interest
   in effect on the Effective Date. The claim is deemed unimpaired and shall not vote on the plan.

          Class 8 Claims:

           Class 8 claims are the claims of Debtors             . The equity holders shall retain
   their membership/ownership interest in each respective Debtors as that membership/ownership
   existed prior to the bankruptcy filing.

                                    ARTICLE V
                       ALLOWANCE AND DISALLOWANCE OF CLAIMS

           Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed [by a
   final non-appealable order], and as to which either: (i) a proof of claim has been filed or deemed
   filed, and the Debtors or another party in interest has filed an objection; or (ii) no proof of claim
   has been filed, and the Debtors have scheduled such claim as disputed, contingent, or unliquidated.
   Debtors shall file all objections to claims within 60 days of the Confirmation Date except as
   provided for in the Disclosure Statement or herein.

           Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
   disputed claim unless such claim is allowed by a final non-appealable order or otherwise provided
   herein.

          Settlement of Disputed Claims. The Debtors will have the power and authority to settle and
   compromise a disputed claim with court approval and compliance with Rule 9019 of the Federal
   Rules of Bankruptcy Procedure.

           Disputed claims are not permitted to vote on Debtors plan absent approval of the Court to
   vote after hearing but disputed claimants may file objections to the disclosure statement and plan.

                                                       -05027 is deemed to be an objection to the
   claims of DMA Properties, Inc., Longbranch Energy, LP, and Frank Daniel Moore, which was
   decided by Court Judgment. Debtors contend that the Court s judgment in the 20-05027 adversary
   resolves all issues regarding the claims of DMA Properties, Inc., Longbranch Energy, LP, and
   Frank Daniel Moore and have found that none of these parties have a secured interest in any of
                                      t note as discussed in the Disclosure Statement. The Debtors
   reserve the right to have the Bankruptcy Court clarify these issues both in the Confirmation Order
   and in future proceedings if needed.

   Retention of Jurisdiction

           Under sections 105 and 1142 of the Bankruptcy Code, and notwithstanding the entry of
   the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall
   retain exclusive jurisdiction over all matters arising out of or related to the Chapter 11 Cases and
   the Plan, to the fullest extent permitted by law, including jurisdiction to:


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          (a) determine all applications, Claims, adversary proceedings and contested matters
   pending on the Effective Date

          (b) enter such orders as may be necessary or appropriate to execute, implement, or
   consummate the provisions of the Plan and all contracts, instruments, releases, and other
   agreements or documents created in connection with the Plan, this Disclosure Statement, or the
   Confirmation Order;

           (c) hear and determine disputes arising in connection with the interpretation,
   implementation, consummation, or enforcement of the Plan and all contracts, instruments, and
   other agreements executed in connection with the Plan;

          (d) hear and determine any request to modify the Plan or to cure any defect or omission
   or reconcile any inconsistency in the Plan or any order of the Bankruptcy Court;

           (e) hear and determine motions, application, adversary proceedings, contested matters
   and other litigation matters filed or commenced after the Effective Date, including proceedings
   with respect to the rights and claims of the Debtor to recover property under the applicable
   provisions of Chapter 5 of the Bankruptcy Code or to bring any Litigation Claims, or otherwise
   to collect or recover on account of any Litigation Claim

          (f) issue and enforce injunctions or other orders, or take any other action that may be
   necessary or appropriate to restrain any interference with the implementation, consummation, or
   enforcement of the Plan or the Confirmation Order,

          (g) enter and implement such orders as may be necessary or appropriate if the
   Confirmation Order is for any reason reversed, stayed, revoked, modified, or vacated;

          (h) hear and determine any matters arising in connection with or relating to the Plan, this
   Disclosure Statement, the Confirmation Order or any contract, instrument, release, or other
   agreement or document created in connection with the Plan, this Disclosure Statement, or the
   Confirmation Order;

          (i) enforce all orders, judgments, injunctions, releases, exculpations, and rulings entered
   in connection with the Chapter 11 Cases;

           (j) hear and determine such other matters as may be provided in the Confirmation Order
   or as may be authorized under, or not inconsistent with, provisions of the Bankruptcy Code; (k)
   hear and determine matters relating to the allowance, disallowance, determination, classification,
   estimation and/or liquidation of Claims against the Debtor and to enter or enforce any order
   requiring the filing of any such Claim before a particular date; and




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          (k) enter a final decree closing the Chapter 11 Case.

   Interests Retained by the Debtors

           The Debtors are retaining their current ownership interests in their real and personal
   property, subject to the secured and unsecured claims of its creditors. Debtors retains any
   and all claims or causes of action against any person or entity: (i) to avoid, set aside, or
   recover any payment or other transfer made to any person or entity under Section 547, 548,
   549, and/or 550 of the Bankruptcy Code, (ii) to avoid, set aside, or recover any payment or
   other transfer made to any person or entity under any applicable State law(s), (iii) to avoid
   or set aside any Interest of a person or entity in property under Section 544 of the
   Bankruptcy Code; (iv) to recover damages against an officer, director, manager,
   shareholder, member, or insider for breach of their duties to the Debtor or their creditors
   accruing pre or post-bankruptcy filing; (v) to recover damages for any and all legal or
   equitable claims against their owners, managers, officers, employees, lawyers, employees
   or any other person, including but not limited to claims for breach of contract, promissory
   estoppel, conversion, fraud, breach of fiduciary duty, tortious interference, conversion,
   defamation, or any other cause of action, regardless of whether the action accrued prior to
   or after the bankruptcy filing date.

                                    ARTICLE VI
                      EXECUTORY CONTRACTS AND UNEXPIRED LEASES

           The Debtors are rejecting all prepetition executory contracts not specifically assumed by
   court order or as indicated below. Debtors believe all the organizational agreements within their
   business entities are not executory; however, to the extent they are found executory, Debtors
   assume those agreements.

       Unless the time to file a claim for rejections damages is specifically limited herein or by other
   court order, rejections damages must be filed no later than 30 days after the effective date of the
   plan.

                                     ARTICLE VII
                        MEANS FOR IMPLEMENTATION OF THE PLAN

            7.01 Continued Corporate Existence. The Debtors shall continue to exist after the
   Effective Date as their respective Texas entities, with all the powers of a corporation, partnership,
   or limited liability company, as applicable, under applicable law and without prejudice to any right
   to alter or terminate such existence (whether by merger or otherwise) under applicable state law.

           7.02 Advance Payment of Claims. Provided Debtors stay current on all payments to
   creditors pursuant to the Plan, Debtors may make advance payments on claims in Debtors
   business judgment discretion.

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          7.03 Payments due under the plan shall come from the remaining Uvalde Ranch
   proceeds, then monetization of the Pipeline ROW, and then sale of the Thunder Rock Holdings.

                                        ARTICLE VIII
                                     GENERAL PROVISIONS

          8.01     Definitions and Rules of Construction. The definitions and rules of construction
                   set forth in §§ 101 and 102 of the Code shall apply when terms defined or
                   construed in the Code are used in this Plan, and they are supplemented by the
                   following definitions:

          8.01.1   Administrative Claim shall mean any Claim that is defined in Section 503(b) of

                   such section and referenced in Bankruptcy Code Section 507(a)(1) including,
                   without limitation, the actual necessary costs and expenses of preserving the
                   Debtors estates and operating the business of the Debtors, including wages,
                   salaries, or commissions for services rendered after the commencement of the
                   case, compensation for legal and other services and reimbursement of expenses.
                   Allowed or awarded under Bankruptcy Code Sections 33(a) or 331, and all fees
                   and charges assessed against the estate of the Debtors under title 28 of the United
                   States Code

          8.01.2   Allowed Claim or Allowed Interest shall mean a Claim or Interest (a) in respect
                   of which a proof of claim or application has been filed with the Bankruptcy Court
                   within the applicable period of limitation fixed by Bankruptcy Rule 3001 or (b)
                   scheduled in the list of Creditors prepared and filed with the Bankruptcy Court
                   pursuant to Bankruptcy Rule 1007(b) and not listed as Disputed Claims or
                   contingent or liquidated as to amount, in either case as to which no objection to
                   the allowance thereof has been interposed within any applicable period of
                   limitation fixed by Bankruptcy rule 3001 or an order of the Bankruptcy Court, or
                   this Plan, or as to which any such objection has been determined by an order or
                   judgment which is no longer subject to appeal or certiorari proceeding and as to
                   which no appeal or certiorari proceedings is pending or as otherwise allowed
                   under this Plan. An Allowed Claim may refer to a Secured Claim, a General
                   Unsecured Claim, an Administrative Claim or a Priority Claim as the context
                   provides.

          8.01.3   Avoidance Actions shall mean those causes of action provided for under Sections
                   547 to 551 of the Bankruptcy Code, causes of action under applicable non-
                   bankruptcy law for fraudulent transfer or similar legal theories.

          8.01.4   Bankruptcy Code shall mean the Bankruptcy Code, 11 U.S.C. §101 et seq., as it
                   existed on the Filing Date



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         8.01.5   Bankruptcy Court shall mean the United States Bankruptcy Court for the Western
                  District of Texas, San Antonio Division, in which the Debtors Chapter 11 case,
                  pursuant to which the Plan is proposed, is pending, and any Court having
                  competent jurisdiction to hear appeals or certiorari proceedings therefrom.

         8.01.6   Bankruptcy Estate or Estates shall mean all of the assets owned by the Debtors
                  and their respective estates.

         8.01.7   Cash shall mean Cash and Cash equivalents including, without limitation, checks
                  and wire transfers.

         8.01.8   Claim shall have the meaning given in Section 101 of the Bankruptcy Code, to
                  wit, any right to payment, or right to an equitable remedy for breach of
                  performance if such breach gives rise to a right to payment, against the Debtors
                  in existence on or before the Filing Date, whether or not such right to payment or
                  right to equitable remedy is reduced to judgment, liquidated, unliquidated, fixed,
                  contingent, matured, unmatured, disputed, undisputed, legal, legal, secured or
                  unsecured whether or not asserted.

         8.01.9   Class shall mean any class into which Allowed Claims or Allowed Interests are
                  classified pursuant to Article 4.

         8.01.10 Confirmation Date shall mean the date upon which the Confirmation Order is
                 entered by the Clerk of the Bankruptcy Court.

         8.01.11 Confirmation Hearing shall mean the hearing held by the Bankruptcy Court to
                 consider confirmation of the Plan.

         8.01.12 Confirmation Order shall mean the order entered by the Bankruptcy Court
                 confirming this Plan in accordance with the provisions of Chapter 11 of the
                 Bankruptcy Code.

         8.01.13 Creditor shall mean any entity holding a Claim.

         8.01.14 Debtors shall mean KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series
                 Uvalde Ranch, and KrisJenn Ranch LLC, Series Pipeline Row

         8.01.15 Disbursing Agent shall mean KrisJenn Ranch, LLC.

         8.01.16 Disclosure Statement shall mean the written document filed by the Debtors in
                 accordance with Section 1125(b) of the Bankruptcy Code containing information
                 sufficient to enable a hypothetical reasonable investor typical of Holders of
                 Claims or Interests of the relevant Class to make an informed judgment about this
                 Plan.




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         8.01.17 Disallowed Claim shall mean any Claim or portion thereof which has been
                 disallowed by a Final Order and includes any Claim which is not an Allowed
                 Claim for any other reason.

         8.01.18 Disputed Claim shall mean that portion (including, where appropriate, the whole)
                 or any Claim (other than an Allowed Claim) that (a) is listed in Debtors
                 schedules of liabilities as disputed, contingent, or unliquidated; (b) is listed in the
                 Debtors schedules of liabilities and as to which a proof of Claim has been filed
                 with the Bankruptcy Court, to the extent the proof of Claim exceeds the scheduled
                 amount; (c) is not listed in the Debtors schedules of liabilities, but as to which a
                 proof of Claim has been filed with the Bankruptcy Court; or (d) as to which an
                 objection has been filed and has not become an Allowed Claim.

         8.01.19 Effective Date shall mean fifteen (15) days after entry of a Final Order confirming
                 Debtors plan of reorganization.

         8.01.20 Equity Inter
                 defined in Section 101 of the Bankruptcy Code.

         8.01.21 Executory Contracts shall mean any Pre-petition Unexpired Lease(s) or executor
                 contract(s) of the Debtors within the meaning of Section 365 of the Bankruptcy
                 Code.

         8.01.22 Filing Date shall mean the date Debtors filed their voluntary petition under
                 Chapter 11 of the Bankruptcy Code.

         8.01.23 Final Order shall mean an order or judgment of a Court which has become final
                 in accordance with law, and which has not been stayed pending appeal.

         8.01.24 General Unsecured Claim shall mean either (i) a Claim that is not secured by a
                 lien, security interest or other charge against or interest in property in which
                 Debtors has an interest or which is not subject to setoff under Section 553 of the
                 Bankruptcy Code; (ii) a Claim that is not a Secured Claim; (iii) a claim that is not
                 an Administrative Claim; (iv) a Claim that is not a Priority Claim; or (v) a Claim
                 that is not otherwise entitled to priority under Bankruptcy Code Sections 503 or
                 507.

         8.01.25 Holder shall mean the owner or Holder of any Claim or Interest.

         8.01.26 Interest shall mean an Interest (a) in respect to which a proof of interest has been
                 filed with the Bankruptcy Court within the applicable period of limitation fixed
                 by Bankruptcy Rule 3001 or (b) scheduled in the list of Equity Security Holders
                 prepared and filed with the Bankruptcy Court pursuant to Bankruptcy Rule
                 1007(b).

         8.01.27 Insider has the definition ascribed to it under the Bankruptcy Code.

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         8.01.28                                  ined in Section 101(37) of the Bankruptcy Code.

         8.01.29 Net Proceeds shall mean, any cash recovery, the funds remaining after a final
                 judgment on an Avoidance Action, net of all legal fees (and/or contingency legal
                 fees), costs and expenses of suit. The Net Proceeds, for any non-cash recovery,
                 is the amount of cash remaining after the final judgment and recovery of non-
                 cash asset is liquidated and the cash proceeds are distributed net of all legal fees,
                 costs and expenses of suit. Compromises of Avoidance Actions may include cash
                 or benefits to the Debtors or Reorganized Debtors and are not Net Proceeds.

         8.01.30 Person shall mean an individual, corporation, partnership, joint venture, trust,
                 estate, unincorporated organization, or a government or any agency or political
                 subdivision thereof.

         8.01.31 Plan shall mean this Chapter 11 Plan, as altered, modified or amended in
                 accordance with the terms hereof in accordance with the Bankruptcy Code, the
                 Bankruptcy Rules and this Plan.

         8.01.32 Priority Tax Claims shall mean any claim that is defined in Section 507(a)(8) of
                 the Bankruptcy Code.

         8.01.33 Professionals shall mean all professional employed in this case pursuant to
                 Section 327 or 1103 of the Bankruptcy Code.

         8.01.34 Pro-Rata shall mean the proportion that the Allowed amount of such Claim bears
                 to the aggregate amount of Claims in each respective Class.

         8.01.35 Secured Claim shall mean a claim secured by a lien, security interest or other
                 charge against or interest in property in which the Debtors has an interest, or
                 which is subject to setoff under Section 553 of the Bankruptcy Code, to the extent
                 of the value (determined in accordance with Section 506(a) of the Bankruptcy
                 Code) of the interest of the Holder of such Claim in the Debtors interest in such
                 property or to the extent of the amount subject to such setoff, as the case may be.

         8.01.37 Severability. If any provision in this Plan is determined to be unenforceable, the
                 determination will in no way limit or affect the enforceability and operative effect
                 of any other provision of this Plan.

         8.01.38 Binding Effect. The rights and obligations of any entity named or referred to in
                 this Plan will be binding upon, and will inure to the benefit of the successors or
                 assigns of such entity.

         8.01.39 Captions. The headings contained in this Plan are for convenience of reference
                 only and do not affect the meaning or interpretation of this Plan.


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          8.01.40 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
                  (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of
                  the State of Texas govern this Plan and any agreements, documents, and
                  instruments executed in connection with this Plan, except as otherwise provided
                  in this Plan.

                                     ARTICLE IX
                        DISCHARGE AND EFFECT OF CONFIRMATION

           9.01 Legally Binding Effect. The provisions of this Plan shall bind all Creditors and
    Interest Holders, whether or not they accept this Plan. On and after the Effective Date, all holders
    of Claims shall be precluded and forever enjoined from asserting any (i) Claim against the
    Debtors based on any transaction or other activity of any kind that occurred prior to the
    Confirmation Date except as permitted under the Plan; and (ii) derivative claims, including
    claims against third parties asserting alter ego claims, fraudulent transfer claims, or any type of
    successor liability based on acts or omissions of the Debtors. Notwithstanding this provision,
    any derivative claims against third parties shall only be enjoined as follows:

         A.    No Creditor of the Debtors shall be permitted to collect upon any Claims in
   any manner other than as provided for in the Plan.

           B.      Affiliate Injunction. A temporary injunction is hereby entered and shall be in
    effect as of the Effective Date, prohibiting the commencement or continuation of any action
    or proceeding against any affiliate, responsible person, guarantor, officer or director of the
    Debtors that otherwise would be liable to such holder of a Claim for payment of such Claim
    for any reason whatsoever, or against the property of any of the foregoing persons, so long
    as the Reorganized Debtors are not in default of the payment terms of such Claim as
    provided herein. Further, the statute of limitations against any guarantor is suspended
    during the period the Plan payments are not in default. Notwithstanding the foregoing,
    these provisions shall not affect the responsible person liability as defined by the
    internal revenue code and applicable to the allowed claim of the Internal Revenue Service.

            9.02 Injunction and Discharge. Pursuant to Section 1141(d) of the Bankruptcy Code,
    upon the Effective Date, the Debtor shall be discharged from any debt that arose before the date
    of such confirmation, and any debt of a kind specified in Section 502(g), 502(h) or 502(i) of the
    Bankruptcy Code, whether or not a proof of the Claim based on such debt is filed or deemed filed
    under Section 501 of this title; such Claim is allowed under Section 502 of this title; or the Holder
    of such Claim has accepted the Plan. The entry of the Confirmation Order will operate as a
    general resolution with prejudice, as of the Effective Date, of all pending Legal Proceedings, if
    any, against the Debtors and their assets and properties and any proceedings not yet instituted
    against the Debtors or their assets, except as otherwise provided in the Plan. Except as otherwise
    expressly provided in the Plan or the Confirmation Order, all Persons who have held, may have

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    held, hold, or may hold Claims against the Debtors are permanently enjoined on and after the
    Effective Date from (a) commencing or continuing in any manner any action or other proceeding
    of any kind against the Debtors or their property, with respect to any such Claim, (b) the
    enforcement, attachment, collection or recovery by any manner or means of any judgment,
    award, decree or order with respect to any such Claim against the Debtors or their property, (c)
    creating, perfecting, or enforcing any encumbrance of any kind against the Debtors or their
    property, with respect to such Claim, (d) asserting any right of subrogation of any kind against
    any obligation due to the Debtors or the property of the Debtors or the Estates with respect to
    any such Claim and (e) asserting any right of setoff or recoupment against the Debtors or the
    Estates except as specifically permitted by     553 of the Bankruptcy Code. Unless otherwise
    provided in the Plan or by order of the Bankruptcy Court, all injunctions or automatic stays
    provided for in these cases pursuant to     105, if any, or     362 of the Bankruptcy Code, or
    otherwise, and in existence on the Confirmation Date will remain in full force and effect until
    the Effective Date.

           9.03 Limited Protection of Certain Parties in Interest. Neither (a) the Debtors, or any of
    their respective employees, officers, directors, agents, representatives, affiliates, attorneys,
    financial advisors, or any other professional persons employed by the Debtors, nor (b) each
    Professional for the Debtors or any of their employees, officers, directors, agents,
    representatives, affiliates, attorneys, financial advisors, or any other professional persons
    employed by any of them, (the persons identified in (a) and (b), are collectively referred to as
     Protected Persons , shall have or incur any liability to any Person or Entity under any theory
    of liability for any act or omission occurring on or after the Petition Date in connection with or
    related to the Debtors, the Chapter 11 Case, or the Estate, including, but not limited to, (i)
    formulating, preparing disseminating, implementing, confirming,               consummating      or
    administering this Plan (including soliciting acceptances or rejections thereof); or (ii) the
    Disclosure Statement or any contract, instrument, release or other agreement or document
    entered into or any action taken or omitted to be taken in connection with this Plan, except
    for acts constituting willful misconduct, gross negligence, or ultra vires activity and in all
    respects such Protected Persons shall be entitled to rely in good faith upon the advice of counsel.
    In any action, suit or Legal Proceeding by any Person contesting any action by, or non-action
    of any Protected Person as constituting willful misconduct, gross negligence, or ultra vires
    activity or not being in good faith, the reasonable attorneys fees and costs of the prevailing
    party will be paid by the losing party and as a condition to going forward with such action, suit,
    or Legal Proceeding at the outset thereof, all parties thereto will be required to provide
    appropriate proof and assurances of their capacity to make such payments of reasonable
    attorney fees and costs in the event they fail to prevail.

      9.04 Continuation of Anti-Discrimination Provisions of Bankruptcy Code. A Governmental
   Unit may not deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
   other similar grant to, condition such a grant to, or discriminate with respect to such a grant

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   against, the Debtors, or another Person with whom the Debtors have been or are associated or
   affiliated, solely because of the commencement, continuation, or termination of the case or
   because of any provision of the Plan or the legal effect of the Plan, and the Confirmation Order
   will constitute an express injunction against any such discriminatory treatment by a Governmental
   Unit.

                                            ARTICLE X
                                         OTHER PROVISIONS

                                                DEFAULT

       10.01. Default. Upon default by the Debtors, creditors are required to provide written notice
   of such Default to the Debtors and their counsel, The Smeberg Law Firm, PLLC by certified mail,
   return receipt requested, and by regular first-class mail, and the Debtors shall have thirty (30) days
   from the date of the notice to cure the default. Any defect in such default notice shall toll the
   running of the thirty (30) day cure period. Notice of default shall be given to the Debtors and
   Ronald Smeberg. If the Debtors fail to cure within the thirty (30) day cure period provided herein,
   creditors shall be allowed to foreclose their liens without further notice of hearing before the Court.
   The Debtors shall be entitled to three (3) notices of default for each calendar year. On the fourth
   (4th) notice of default for a calendar year, creditors shall be allowed to foreclose their liens without
   further notice of hearing before the Court, or move to have the case converted to a case under
   Chapter 7.


       10.02. Vesting of Estate Property and Effect of Default. On the Effective Date, title to all
   assets and properties dealt with by the Plan shall vest in KrisJenn Ranch, LLC, Reorganized
   Debtor, free and clear of all Claims and Interests other than any contractual secured claims granted
   under any lending agreement, on the condition that Reorganized Debtor comply with the terms of
   the Plan, including the making of all payments to creditors provided for in such Plan. If
   Reorganized Debtor defaults in performing under the provisions of this Plan and this case is
   converted to a case under chapter 7, all property vested in KrisJenn Ranch, LLC and all
   subsequently acquired property owned as of or after the conversion date shall re-vest and constitute
   property of the bankruptcy estate in the converted case.




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                                     Respectfully submitted,

                                     BY: /s/ Larry Wright
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                                     LLC, KrisJenn Ranch, LLC Series Uvalde Ranch,
                                     KrisJenn Ranch, LLC Series Pipeline Row.

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